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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ILLINOIS

ANITA HARRIS, individually and
on behalf of all others similarly
situated,

                  Plaintiff,

v.                                       Case No. 21-CV-01040-SPM

KELLOGG SALES COMPANY,

                  Defendant.

                   JUDGMENT IN A CIVIL ACTION

DECISION BY THE COURT.

      IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order of

May 24, 2022 (Doc. 26), this action is DISMISSED with prejudice.

      DATED:    May 27, 2022


                                          MONICA A. STUMP,
                                          Clerk of Court

                                          By: s/ Jackie Muckensturm
                                                 Deputy Clerk

APPROVED: s/ Stephen P. McGlynn
          STEPHEN P. McGLYNN
          U.S. District Judge
